

People ex rel Cohen v Maginley-Liddie (2025 NY Slip Op 02598)





People ex rel Cohen v Maginley-Liddie


2025 NY Slip Op 02598


Decided on April 30, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
VALERIE BRATHWAITE NELSON
HELEN VOUTSINAS
PHILLIP HOM, JJ.


2025-04757	DECISION, ORDER &amp; JUDGMENT

[*1]The People of the State of New York, ex rel. David Louis Cohen, on behalf of Michael Pena, petitioner,
vLynelle Maginley-Liddie, etc., et al., respondents.


David Louis Cohen, Kew Gardens, NY, petitioner pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Vivian Gonzalez, Jonathan E. Maseng, Johnnette Traill, and Nancy Fitzpatrick Talcott of counsel), respondent pro se and for respondents Lynelle Maginley-Liddie and Warden of Eric M. Taylor Center.
Writ of habeas corpus in the nature of an application to release Michael Pena upon his own recognizance or, in the alternative, to set reasonable bail upon Queens County Indictment No. 71052/2025.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Queens County Indictment No. 71052/2025 is set in the sum of $75,000 posted in the form of an insurance company bail bond, the sum of $150,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $75,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Michael Pena shall (1) surrender all passports, if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, he shall provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (2) provide to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Michael Pena (1) has given an insurance company bail bond in the sum of $75,000, has given a partially secured bond in the sum of $150,000, with the requirement of 10% down, or has deposited the sum of $75,000 as a cash bail alternative; (2) has surrendered all passports, if any, he may have to the Office of the District Attorney of Queens County, or, if he does not possess a passport, has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (3) has provided to the Office of the District Attorney of Queens County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Queens County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Michael Pena is incarcerated, or his or her [*2]agent, is directed to immediately release Michael Pena from incarceration.
DILLON, J.P., BRATHWAITE NELSON, VOUTSINAS and HOM, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








